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           EXHIBIT G
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                 SHENZHEN INTERMEDIATE PEOPLE’S COURT
                       INVESTIGATION ASSISTANCE ORDER
                                                             (2019) YUE 03 MIN CHU No. 2447


Matthew J. Weldon:
       This court has accepted a case, in which the plaintiff, Shenzhen Skyroam Technology Co.,
Ltd. sued the defendants, WANG Bin, Shenzhen uCloudlink Network Technology Co., Ltd.,
Shenzhen uCloudlink Network Technology Co., Ltd., and GAO Wen, for infringement of trade
secrets. Now due to the needs of the case trial, the order authorized attorneys ZHENG Hong and
DING Guangwei (the holders of this order) to obtain the following documents from you, which
were submitted by the defendants and an affiliate(s) thereof in the US patent litigation case
Case1: 18-cv-05247-JSR SIMO Holdings Inc v. UCloudlink Network Technology Limited et al
(“the US patent litigation case”): UCLOUDLINK0010784-0010862; UCLOUDLINK0010899-
0010914; UCLOUDLINK0217231-0217238; UCLOUDLINK0217228-0217230. Please provide
the necessary assistance.                                                           Shen Zhen,
                                                                                Guangdong Province
                                                                                  Cross-page Seal
       This order is effective until November 24, 2020.




                                                                     November 9, 2020
                       [Seal of Shenzhen Intermediate People’s Court of Guangdong Province]
         Case 1:18-cv-05427-JSR Document 321-7 Filed 12/01/20 Page 3 of 4




Information of the order holders:
Name           ZHENG Hong,        Gender Male Company or                 Beijing King & Wood
               DING Guangwei                    Firm                     Mallesons (Guangzhou)
ID number      445102198107310019, 620302198602220881
License        14401201510552626, 14401202010208884
number

Notes:
         I. Only the order holders are authorized in this order.
         II. The organization assisting in the investigation has the right to verify the license and
identity information of the order holders.
         III. The investigation and evidence collection conducted by the order holders should be
within the scope specified in this investigation assistance order, and the order cannot be used for
any other purposes.
         IV. Contact for this investigation assistance order: Li Jiali, Intellectual Property Division
of Shenzhen Intermediate People’s Court, telephone: 0755-83535384.
                                                                                        Intermediate
                                                                                       People’s Court
                                                                                       Cross-page Seal
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Date: November 11, 2020


To whom it may concern:

This is to certify that the attached translation from Chinese and into English is an accurate
representation of the documents received by this office.

The document is designated as:
    • Shenzhen Intermediate People’s Court Investigation Assistance Order; (2019) Yue 03 Min Chu No. 2447



Alexander Danesis, Project Manager in this company, attests to the following:

“To the best of my knowledge, the aforementioned documents are a true, full and accurate translation
of the specified documents.”



_________________________________
Signature of Alexander Danesis




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